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 3                     IN THE UNITED STATES DISTRICT COURT FOR THE
 4                               EASTERN DISTRICT OF CALIFORNIA
 5
 6      TERRY DELAMATER, individually       )               NO. 1:09-CV-2025 AWI-SMS
        and dba FAMILY FITNESS OF           )
 7      ROYAL, LLC,                         )               ORDER MOVING
                                            )               PLAINTIFF’S AND
 8                        Plaintiff,        )               DEFENDANT’S MOTIONS
              v.                            )               FOR SUMMARY JUDGMENT
 9                                          )               HEARINGS FROM JANUARY
        ANYTIME FITNESS, INC.,              )               11, 2010 TO FEBRUARY 8, 2010
10                                          )
                          Defendant.        )
11      ____________________________________)
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             Plaintiff Terry Delamater’s, individually and dba Family Fitness of Royal, LLC
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     (“Plaintiff”) motion for summary judgment is currently scheduled for hearing on January 11,
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     2010. Defendant Anytime Fitness’s (“Defendant”) cross-motion for summary judgment is set for
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     hearing on January 11, 2010. The court has received full briefing on Plaintiff’s motion for
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     summary judgment but has not received full briefing on Defendant’s cross-motion for summary
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     judgment. In the interests of judicial economy, the court moves both hearings to February 8,
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     2010.
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                                                  ORDER
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             1.      Plaintiff’s and Defendant’s motions are moved from January 11, 2010 to February
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                     8, 2010 at 1:30 p.m. in Courtroom 2;
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             2.      Plaintiff may file an opposition to Defendant’s cross-motion on or by January 19,
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                     2010; and
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             3.      Defendant may file a reply on or by January 26, 2010.
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     IT IS SO ORDERED.
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     Dated:       January 7, 2010                      /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
